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             IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION                        ENTERED
                                                                    02/04/2021
In re                             §
                                  §                        No. 20-35474
EAGLE PCO LLC, et al.1            §                          Chapter 11
                                  §                Jointly Administered
                       Debtor.    §


                     ORDER CONFIRMING PLAN OF REORGANIZATION


        On February 4, 2021, the Court held a hearing to consider the confirmation of the Debtors’

Second Amended Plan of Reorganization for Small Business Under Chapter 11, dated February 1,

2021 (the “Plan”). (ECF no. 94). After hearing comments from Debtors’ counsel, the Subchapter

V Trustee, and counsel for the U.S. Trustee and others making an appearance, the Court finds that

the Order Scheduling a Hearing to Consider Confirmation of the Plan and Fixing Deadlines for

Voting and Objections (ECF no. 61), the First Amended Plan of Reorganization for Small Business

under Chapter 11, Dated January 7, 2021 (ECF no. 64), and ballots for accepting or rejecting the

proposed Plan were mailed to all creditors and interest holders on January 8, 2021. (ECF no. 69).

The amendments made in the Second Amended Plan of Reorganization, dated February 1, 2021,

do not alter the treatment of any impaired classes and to not adversely aﬀect any of the financial

projections made in the Plan that was mailed to the creditors and interest holders.

        The Court further finds that the Plan is a consensual plan under 11 U.S.C. § 1191(a); see also

In re Pearl Resources LLC, 622 B.R. 236, 251–52 (Bankr. S.D. Tex. 2020) (discussing the diﬀerences

between a consensual and non-consensual plan). Specifically:


1
 The Debtors in these Chapter 11 cases are: (a) Eagle PCO LLC (No. 20-35474) and (b) Eagle Pressure Control LLC
(No. 20-35475).



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       1. Holders of allowed claims and interests in Classes 2F, 2J, 3, and 4 have accepted
          the Plan; and

       2. Objections to confirmation have been withdrawn as follows:

                                                       Objection      Withdrawal
                      Objecting Creditor               Dkt. No.        Dkt. No.
                Texas Taxing Authorities                   74             100
                (Grimes & Midland Counties)
                Ford Motor Credit                          81              98
                Atascosa & Tarrant Counties                85              99


       The Court makes the following findings of fact as to the factors that must be considered for

confirmation of a consensual plan:

       1. The Plan complies with all of the applicable provisions of the Bankruptcy Code.
          11 U.S.C. § 1129(a)(1).

       2. The Debtor, as Plan Proponent, has complied with all of the applicable provi-
          sions of the Bankruptcy Code. 11 U.S.C. § 1129(a)(2).

       3. The Plan has been proposed in good faith and not by any means forbidden by
          law. 11 U.S.C. § 1129(a)(3). The Plan leverages the Debtor’s expertise and con-
          nections in its industry to provide more value to the Estate than what is likely in
          the case of a liquidation. The projections of the liquidation value of the Debtor
          and its projections of future disposable income are reasonable. The Plan is fea-
          sible because it relies upon an investment of capital from a third party, albeit an
          insider, by the Eﬀective Date of the Plan.

       4. The payments to be made by the Debtor for services or costs and expenses in
          connection with this case or in connection with the Plan and incident to this case
          have been approved by the Court or are subject to the approval of the Court. 11
          U.S.C. § 1129(a)(4).

       5. Post confirmation management of the Debtor set forth in the Plan is consistent
          with the interests of creditors, equity security holders, and public policy. 11
          U.S.C. § 1129(a)(5).




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6. The provisions of 11 U.S.C. § 1129(a)(6) are inapplicable to this case because
   the Debtor is not subject to the type of regulation described therein.

7. With respect to each impaired class of claims or interests, each holder of an al-
   lowed claim or interest has either: (a) accepted the Plan, or (b) will receive or
   retain under the plan on account of such claim or interest property of a value, as
   of the Eﬀective Date of the Plan, that is not less than the amount that such
   holder would so receive or retain if the Debtor were liquidated under Chapter 7
   on such date. 11 U.S.C. § 1129(a)(7). Here, the Court finds that in a liquidation,
   holders of general unsecured claims would receive $0, and it is likely that there
   would be insuﬃcient funds to pay all administrative and priority claims.

8. Each class of claims or interests has either: (a) accepted the Plan or (b) is not
   impaired under the Plan. 11 U.S.C. § 1129(a)(8). Here, holders of claims in Clas-
   ses 1, 2A, 2B, 2C, 2D, 2E, 2G, 2H, and 2I are not impaired, and holders of
   claims and interests in Classes 2F, 2J, 3, and 4 are impaired and have accepted
   the Plan.

9. Holders of claims for administrative expenses under 11 U.S.C. § 507(a)(2) will
   be paid in full at the Eﬀective Date, and holders of claims for professional fees
   and expenses have agreed to be paid upon approval of their respective fee appli-
   cations. Any holders of priority claims under 11 U.S.C. §§ 507(a)(1), 507(a)(4)–
   507(a)(8) will be paid in full at the Eﬀective Date.

10. At least one impaired class of claims has accepted the Plan. 11 U.S.C.
    § 1129(a)(10). Here, all impaired classes of claims have accepted the Plan.

11. Confirmation of the Plan is not likely to be followed by the liquidation or further
    financial reorganization of the Debtor. 11 U.S.C. § 1129(a)(11).

12. While fees under 28 U.S.C. § 1930 are not paid by Debtors under Subchapter V,
    the Plan provides for the prompt payment of any such fees that may come due
    before the administrative closing of this case. 11 U.S.C. § 1129(a)(12).

13. The provisions of 11 U.S.C. § 1129(a)(13) are inapplicable to this case because
    the Debtor neither provided nor had the obligation to provide retiree benefits,
    as defined in 11 U.S.C. § 1114, form the 181st day prior to the filing of the Volun-
    tary Petition to the present date.

14. The provisions of 11 U.S.C. § 1129(a)(14) are inapplicable to this case because
    the Debtor is not an individual.



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       15. The provisions of 11 U.S.C. § 1129(a)(15) are inapplicable to consensual plans
           in small business cases filed under Subchapter V. 11 U.S.C. §§ 1181(a), 1191(a).

       16. The transfers of property to Talon Pressure Control, LLC comply with all ap-
           plicable provisions of non-bankruptcy law. 11 U.S.C. § 1129(a)(16).

       IT IS THEREFORE ORDERED THAT the Second Amended Plan of Reorganization for

Small Business Under Chapter 11, dated February 1, 2021 (“the Plan” or “the Confirmed Plan”)

(ECF no. 94), filed by the Debtors, Eagle PCO LLC and Eagle Pressure Control LLC is

CONFIRMED as modified by this Order.

       IT IS FURTHER ORDERED THAT the transfers to Talon Pressure Control, LLC are

approved in all respects on the terms set forth in the Confirmed Plan, and the assets transferred to

Talon Pressure Control, LLC shall be transferred free and clear of all liens, claims, and encum-

brances of any kind, except as expressly provided in the Confirmed Plan or this Order

       IT IS FURTHER ORDERED THAT, pursuant to 11 U.S.C. § 524(e), the Debtors’ mem-

bers, oﬃcers, directors, employees, and/or professionals are not released from any liabilities that

they would be obligated to pay under non-bankruptcy law arising prior to the Petition Date as de-

fined in the Second Amended Plan of Reorganization.

       IT IS FURTHER ORDERED THAT if the case is later converted to a case under Chapter

7 of the Bankruptcy Code before all provisions of the Confirmed Plan have been satisfied, all assets

of the Debtors will revest in the Chapter 7 Estate and be subject to administration by a Chapter 7

Trustee.

       IT IS FURTHER ORDERED THAT after the date of this Order, this Court shall retain

jurisdiction over these Chapter 11 Cases according applicable law, including jurisdiction to interpret

and enforce the provisions of the Confirmed Plan and this Order.




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   IT IS FURTHER ORDERED THAT:

   1. All applications for the award of professional fees shall be submitted within 14
      days of this Order.

   2. All objections to proofs of claims shall be filed within the time set forth in Sec-
      tion VI(B) (page 24) of the Confirmed Plan.

    SIGNED this _____ day of February 2021.
February 04, 2021



                                                       _____________________________
                                                       Eduardo V. Rodriguez
                                                       United States Bankruptcy Judge




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